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6

7                        UNITED STATES DISTRICT COURT
8
                                OF NEW JERSEY

9

10
     YOLANDA POLHILL,
                 Plaintiff,                     Case No.:
11
           vs.
12
     NAVIENT SOLUTIONS, LLC.,                   COMPLAINT AND DEMAND FOR
13
                                                JURY TRIAL
                 Defendant.
14
                                                (Unlawful Debt Collection Practices)
15

16

17                COMPLAINT AND DEMAND FOR JURY TRIAL
18         Plaintiff, Yolanda Polhill, (“Plaintiff”), through her attorneys, alleges the
19   following against Defendant, Navient Solutions, Inc. (“Defendant”).
20

21                                  INTRODUCTION
22      1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer

23         Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute

24
           that broadly regulates the use of automated telephone equipment. Among
           other things, the TCPA prohibits certain unsolicited marketing calls, restricts
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                          COMPLAINT AND DEMAND FOR JURY TRIAL
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          the use of automatic dialers or prerecorded messages, and delegates
1
          rulemaking authority to the Federal Communications Commission (“FCC”).
2

3      2. Count II of Plaintiff’s Complaint is based upon the Invasion of Privacy,

4         Intrusion upon Seclusion, as derived from § 652B of the Restatement
5         (Second) of Torts § 652B prohibits an intentional intrusion, “physically or
6         otherwise, upon the solitude or seclusion of another or his private affairs or
7         concerns…that would be highly offensive to a reasonable person.”
8
                            JURISDICTION AND VENUE
9
       3. Jurisdiction of the court arises under 28 U.S.C. § 1331 and 47 U.S.C. § 227.
10
       4. Diversity jurisdiction is proper under 28 U.S.C. § 1332.
11
       5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part of
12
          the events or omissions giving rise to the claim occurred in this District.
13
          Because Defendant transacts business here, personal jurisdiction is
14
          established.
15

16                                      PARTIES
17     6. Plaintiff is a natural person residing in Lindenwold, Camden County, New
18        Jersey.
19     7. Defendant is a creditor engaged in the business of giving loans and managing

20        credit accounts with its principal place of business located 2001 Edmund
21        Halley Drive, Reston, VA 20191. Defendant can be served with process at
22        Corporation Service Company. Bank of America Center, 16rh Floor, 1111

23        East Main Street, Richmond, VA 23219.

24

25
                              FACTUAL ALLEGATIONS



                         COMPLAINT AND DEMAND FOR JURY TRIAL
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       8. Defendant is attempting to collect a student loan debt from Plaintiff owed by
1
          Plaintiff’s brother.
2
       9. Plaintiff is a co-signer for her brother’s loan for account ending in -0058.
3
       10. Plaintiff’s brother has been making monthly payments pursuant to an
4
          agreement with Defendant.
5
       11. According to an arrangement with Defendant, Plaintiff’s payment would be
6
          applied to all existing loans with Defendant. However, the payments were
7
          credited to certain groups of loans creating an alleged default on other groups
8
          of loans.
9
       12. When Plaintiff’s brother would receive notification of a default or “past due”
10
          amount, he would contact the Defendant to adjust the balance and mark the
11        account current. This process occurred almost monthly.
12     13. In and around May 2017, Defendant began placing calls to Plaintiff’s cellular
13        phone number (XXX) XXX-7024, in an attempt to collect on the alleged debt.
14     14. The calls came from the following telephone numbers: (607) 271-6188, (856)

15        242-2502, (317) 550-5589, (302) 261-5532, (703) 439-1079, (703) 439-1080,
16        (570) 904-8747, (512) 354-2001, (615) 432-4230, (716) 707-3275, (615) 215-
17        7706, (202) 899-1316, (765) 637-0793, (765) 637-0795, (317) 550-5602,

18        (302) 261-5690, (703) 439-1081, (765) 637-0195, (512) 354-2002, (570) 904-

19
          8749, (570) 904-8747, (512) 354-2001, (202)-899-1316, (302) 261-5690,

20
          (386) 269-0326; upon information and belief these numbers are owned or
          operated by Defendant.
21
       15. On or around May 3, 2017, at approximately 4:49 p.m., Plaintiff answered a
22
          collection call from Defendant, (607) 271-6188; Plaintiff heard a pause before
23
          the collection agent began to speak, indicating the use of an automated
24
          telephone dialing system.
25
       16. Defendant informed Plaintiff that it was attempting to collect a debt.


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       17. Plaintiff instructed Defendant not to contact her any further.
1
       18. Upon information and belief, between May 4, 2017 and August 16, 2017
2
          approximately one hundred and thirty-one (131) were made to client after
3
          client revoked consent to be called.
4
       19. On or around August 17, 2017, at approximately 3:58 p.m., Plaintiff answered
5
          a second collection call from Defendant, (716) 707-3275; Plaintiff heard a
6
          pause before the collection agent began to speak, indicating the use of an
7
          automated telephone dialing system.
8
       20. Defendant informed Plaintiff that it was attempting to collect a debt.
9
       21. Plaintiff instructed Defendant not to contact her any further.
10
       22. Defendant ignored both of Plaintiff’s requests to cease calls and continued
11        calling her through October 31, 2017.
12     23. Upon information and belief, between August 18, 2017 and October 31, 2017
13        approximately one hundred and sixty-six (166) were made to client after client
14        revoked consent to be called.
15     24. Defendant started calling Plaintiff again beginning August 2018.

16     25. On or around October 22, 2018, at approximately 4:03 p.m., Plaintiff

17        answered a third collection call from Defendant; Plaintiff heard a pause before

18        the collection agent began to speak, indicating the use of an automated

19
          telephone dialing system.
       26. Defendant informed Plaintiff that it was attempting to collect a debt.
20
       27. Plaintiff instructed Defendant not to contact her any further.
21
       28. On or about January 7, 2019, at approximately 4:58 p.m., Plaintiff answered
22
          a fourth collection call from Defendant; Plaintiff heard a pause before the
23
          collection agent began to speak, indicating the use of an automated telephone
24
          dialing system.
25
       29. Defendant informed Plaintiff it was attempting to collect a debt.


                         COMPLAINT AND DEMAND FOR JURY TRIAL
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       30. Plaintiff instructed Defendant not to contact her any further.
1
       31. Defendant ignored all of Plaintiff’s requests to cease calls and continued
2
          calling her through February 2019.
3
       32. Upon information and belief, approximately six-hundred eleven (611) calls
4
          were made by the Defendant to the Plaintiffs cellular phone after Plaintiff had
5
          initially requested not to be contacted.
6
       33. Defendants attempted to predict when Plaintiff was available by calling her
7
          the around the same time on different days. For example, Defendant called
8
          Plaintiff at 9:07 a.m. (October 10, 2018), 9:04 a.m. (October 11, 2018), 8:34
9
          a.m. (October 12, 2018), 9:02 a.m. (October 15, 2018), and 9:02 a.m. (October
10
          16, 2018).
11     34. Defendant called Plaintiff multiple times per day from early in the morning
12        through the evening as many as eight to nine times per day.
13     35. Plaintiff received excessive calls during work days, causing severe stress and
14        embarrassment at her place of employment.
15     36. Defendants calls has also disrupted Plaintiff’s home life with her son and

16        family.
17     37. Plaintiff was driven to buying over the counter pain relief medication for

18        tension and headache relief caused by the excessive calls from Defendant.

19
       38. The conduct was not only willful but done with the intention of causing

20
          Plaintiff such distress, so as to induce her to pay the debt which was not in
          default.
21
       39. As a result of Defendant’s conduct, Plaintiff has sustained actual damages,
22
          including but not limited to, emotional and mental pain and anguish.
23
       40. Plaintiff’s damages are in excess of $75,000.
24

25
                                         COUNT I

                         COMPLAINT AND DEMAND FOR JURY TRIAL
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                        (Violations of the TCPA, 47 U.S.C. § 227)
1

2
       41. Plaintiff incorporates by reference all of the above paragraphs of the
3
          Complaint as though fully stated herein.
4
       42. Defendant violated the TCPA. Defendant’s violations include, but are not
5
          limited to the following:
6
          (a)   Prior to the filing of the action, on multiple occasions, Defendant
7
          violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part,
8
          “It shall be unlawful for any person within the United States . . . to make any
9
          call (other than a call made for emergency purposes or made with the prior
10
          express consent of the called party) using any automatic telephone dialing
11        system or an artificial or prerecorded voice — to any telephone number
12        assigned to a . . . cellular telephone service . . . or any service for which the
13        called party is charged for the call.
14        (b)   Within four years prior to the filing of the action, on multiple
15        occasions, Defendant willfully and/or knowingly contacted Plaintiff at
16        Plaintiff’s cellular telephone using an artificial prerecorded voice or an
17        automatic telephone dialing system and as such, Defendant knowing and/or

18        willfully violated the TCPA.

19
       43. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled

20
          to an award of five hundred dollars ($500.00) in statutory damages, for each
          and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
21
          that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is
22
          entitled to an award of one thousand five hundred dollars ($1,500.00), for each
23
          and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
24
          227(b)(3)(C).
25
                                            COUNT II

                          COMPLAINT AND DEMAND FOR JURY TRIAL
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            (Invasion of Privacy/Intrusion Upon Solitude, Harassment and Stalking)
1
          44. Plaintiffs incorporated by reference all of the above paragraphs of this
2
              Complaint as though fully stated herein.
3
          45. Defendant intentionally intruded upon Plaintiffs’ solitude, seclusion or private
4
              affairs and concerns. Defendant’s intrusion would be highly offensive to a
5
              reasonable person and was unwarranted and unjustified.
6
          46. Specifically, Defendant called Plaintiff in a frequent and daily manner with
7
              intent to harass her and invade her privacy and seclusion. Defendant was on
8
              notice that Plaintiff could not receive calls and ignored her repeated requests
9
              by continuing to bother and harass them at work and at home.
10

11            WHEREFORE, Plaintiff, Yolanda Polhill, respectfully requests judgment be
12        entered against Defendant, Navient Solutions, LLC formerly known as Navient
13        Solutions, Inc., for the following:
14               A. Statutory damages of $500.00 for each and every violation pursuant to
15                  47 U.S.C. § 227(b)(3)(B); 47 U.S.C. §227 (b)(3)(C);
16               B. Actual and punitive damages resulting from invasion of privacy;
17               C. Any other relief that the Honorable Court deems appropriate.

18

19
                                 DEMAND FOR JURY TRIAL

20
              Please take notice that Plaintiff demands a trial by jury in this action.
     //
21
     //
22

23                                              RESPECTFULLY SUBMITTED,

24

25   Dated: March 22, 2019               By:           /s/Alla Gulchina
                                                       Alla Gulchina (SBN 003732010)


                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                       COMPLAINT AND DEMAND FOR JURY TRIAL
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